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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )     Criminal No. 2:23-cr-20191-MSN
                                          )
                                          )
EMMITT MARTIN, III, et al.,               )
                                          )
            Defendants.                   )
______________________________________________________________________________

                          RESPONSE IN OPPOSITION
         TO DEFENDANT BEAN’S MOTION FOR A CHANGE OF VENUE
______________________________________________________________________________

       The United States respectfully opposes Defendant Tadarrius Bean’s Motion for a Change

of Venue or, in the Alternative, to Expand the Jury Venire Outside of Shelby County, Tennessee.

(ECF No. 119.) Defendant Bean has failed to meet his heavy burden to demonstrate presumptive

pretrial jury prejudice on any basis, including negative publicity, and his motion should be denied.

                              Factual and Procedural Background

       A. Factual Background

       On January 7, 2023, Tyre Nichols was the subject of a traffic stop by Memphis Police

Department (MPD) officers, including two of the defendants.         According to the officers, they

stopped Nichols because he was speeding and committing traffic infractions.       The officers pulled

Nichols from his car; repeatedly threatened him, including by threatening to “knock [his] a** out”;

and used force on him following the traffic stop.      Nichols, as captured on body-worn camera

footage, protested that the officers were “doing a lot” and said that he was “just trying to go home.”

When the officers continued to use force, Nichols ran from the scene.     The officers, joined by the
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remaining defendants, pursued him.     When the defendants caught Nichols, they struck, batoned,

and kicked him, including in the head.        Nichols was transported to the hospital where he

succumbed to his injuries and died three days later.

       Local news media began reporting on Nichols’ arrest shortly after he was hospitalized.

After Nichols’ death, the story became a topic of national news and was widely covered by print

and broadcast media.      On January 25, 2023, the State criminally charged the defendants in

connection with Nichols’ death.     On January 27, 2023, just under three weeks after Nichols’

arrest, MPD released SkyCop and some body-worn video footage of the arrest.               Local and

national news media reported extensively on this footage, as well as on the personnel and policy

actions taken by MPD and other law enforcement entities in the wake of Nichols’ death.           On

September 12, 2023, the defendants were federally charged.      (ECF No. 1.)

       B. Procedural History

       The federal indictment charges each defendant with four felony counts stemming from the

Nichols arrest.   Count One charges the defendants with, while acting under color of law, willfully

violating Nichols’ Fourth Amendment right to be free from the use of unreasonable force by a

police officer, resulting in his injury and death, in violation of 18 U.S.C. § 242.     Count Two

charges the defendants with violating the same statute by, while acting under color of law, willfully

violating Nichols’ Fourteenth Amendment right to be free from police officers’ deliberate

indifference to his serious medical needs, resulting in his injury and death.   Count Three charges

the defendants with conspiring to engage in witness-tampering by conspiring to withhold truthful

information and to provide misleading information to their supervisor and others, in violation of

18 U.S.C. § 1512(k), while Count Four charges the defendants with so doing by in fact withholding

information and providing false and misleading information to their supervisor and others, in


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violation of 18 U.S.C. § 1512(b)(3).          (ECF No. 1.)

         Trial in the case is set for May 6, 2024. (ECF No. 51.) Defendant Bean moved for a

change of venue, or, in the alternative, an expansion of the venire.               (ECF No. 119.)

         C. Jury Selection in the Western District of Tennessee

         The prospective jury pool for federal criminal juries in the Western Division of the Western

District of Tennessee is drawn from all of the counties in the Division: Fayette, Lauderdale, Tipton,

and Shelby Counties.            See Map of the Divisions of the Western District of Tennessee,

https://www.tnwd.uscourts.gov/sites/tnwd/files/TNWD_Jurisdiction.pdf; Western District of

Tennessee Amended Plan for the Random Selection of Grand and Petit Jurors (Nov. 9, 2020),

https://www.tnwd.uscourts.gov/sites/tnwd/files/JuryPlan.pdf.

                                               Legal Background

         The Constitution requires that criminal trials be held before “an impartial jury of the State

and district wherein the crime shall have been committed.” U.S. Const. amend. VI; see U.S.

Const. art. III, § 2, cl. 3 (“The Trial of all Crimes . . . shall be held in the State where the said

Crimes shall have been committed.”).             This constitutional requirement yields only rarely, as in

the event “extraordinary local prejudice will prevent a fair trial.” Skilling v. United States, 561

U.S. 358, 378 (2010). Federal Rule of Criminal Procedure 21 accordingly requires transfer only

“if the court is satisfied that so great a prejudice against the defendant exists in the transferring

district that the defendant cannot obtain a fair and impartial trial there.”               Fed. R. Crim. P. 21(a)

(emphasis added). 1

         To make such a showing, a defendant must establish actual prejudice, typically during voir


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  The defendant does not apparently seek discretionary transfer pursuant to Federal Rule of Criminal Procedure
21(b), but even if he had, such a request should also be denied. Transfer to another venue would not serve “the
convenience of the parties, any victim [or the victim’s family], [or] the witnesses,” almost all of whom live and/or
work in Shelby County. Fed. R. Crim. P. 21(b).
                                                          3
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dire, or presumptive prejudice. 2            United States v. Poulsen, 655 F.3d 492, 506 (6th Cir. 2011);

Foley v. Parker, 488 F.3d 377, 387 (6th Cir. 2007) (“Prejudice resulting from pretrial publicity

can be presumptive or actual. . . . The primary tool for discerning actual prejudice is a searching

voir dire of prospective jurors.”).             Presumptive prejudice exists only “where press coverage

‘utterly corrupted’ a trial’s atmosphere.”              Mammone v. Jenkins, 49 F.4th 1026, 1043 (6th Cir.

2022) (quoting Murphy v. Florida, 421 U.S. 794, 798 (1975)), cert. denied, 143 S. Ct. 2568 (2023).

In other words, prejudice may only be presumed when “publicity in essence displaced the judicial

process.”       United States v. McVeigh, 153 F.3d 1166, 1181 (10th Cir. 1998).

           “[S]uch extreme cases are rare.” Mammone, 49 F.4th at 1043; see also Foley, 488 F.3d

at 387 (“Prejudice from pretrial publicity is rarely presumed.”).                 Even “extensive media coverage

and knowledge within the community of the crimes and of the defendant are insufficient by

themselves to create a presumption that a defendant was denied a fair trial.”                   Aguilar v. Chapman,

No. 19-2323, 2020 WL 6703193, at *3 (6th Cir. Sept. 22, 2020) (quoting Dobbert v. Florida, 432

U.S. 282, 303 (1977)).               As the Supreme Court has recognized, “[p]rominence does not

necessarily produce prejudice, and juror impartiality, we have reiterated, does not require

ignorance.” Skilling, 561 U.S. at 381 (emphasis in original).                    Rather, to establish “the extreme

case” in which presumptive prejudice requires a change of venue, a defendant must clear the “high

bar” of demonstrating local prejudice so severe and widespread to justify a presumption that “12

impartial individuals could not be empaneled.”                   Id. at 381–82 (emphasis added).          “For that

presumption to apply, the trial must be entirely lacking in the solemnity and the sobriety required

of a system that subscribes to any notion of fairness and rejects the verdict of a mob.” Grant v.

McKee, 95 F. Supp. 3d 1041, 1045 (E.D. Mich. 2015), aff’d, 647 F. App’x 526 (6th Cir. 2016).


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    The defendant does not allege actual prejudice, nor could he at this pre-voir dire stage.
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                                             Argument

       Defendant Bean has failed to meet his heavy burden of demonstrating local prejudice so

severe and widespread as to justify the presumption that an impartial jury cannot be impaneled.

His alternative request to expand the venire beyond Shelby County is moot, because the venire

already draws from the entire Western Division of the Western District of Tennessee.           To the

extent the defendant seeks to expand the venire beyond the Western Division, his request is

premature at best.   The defendant cannot establish presumptive prejudice, and other tools at the

Court’s disposal—including the juror questionnaire the Court has already indicated that it plans to

use, see ECF No. 113—are more than adequate to address his putative concerns.             The motion

should therefore be denied.

       A. The Defendant Has Not Demonstrated Presumptive Prejudice

       Defendant Bean has failed to meet the heavy burden necessary to obtain a pretrial change

of venue.   He argues that because his actions have received extensive media coverage, including

negative opinions voiced by various individuals and entities, he is entitled to a change of venue.

But the Constitution does not require “that the jurors be totally ignorant of the facts and issues

involved.” Irvin v. Dowd, 366 U.S. 717, 722 (1961); see also, e.g., United States v. Drougas,

748 F.2d 8, 29 (1st Cir. 1984) (explaining that even “[e]xtensive knowledge in the community of

either the crimes or the defendants is not sufficient, by itself, to render a trial constitutionally

unfair.”); United States v. Bliss, 735 F.2d 294, 297–98 (8th Cir. 1984) (“[T]he due process

guarantee of trial by a fair and impartial jury can be met even where . . . virtually all of the

veniremen admit to some knowledge of the defendant due to pretrial publicity.”).         Nor does the

Constitution require that jurors be untouched by opinion journalism.        To the contrary, in high-

profile cases such as the present matter, “scarcely any of those best qualified to serve as jurors will


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not have formed some impression or opinion as to the merits of the case.”     Irvin, 366 U.S. at 722

(quoting Reynolds v. United States, 98 U.S. 145, 156 (1878)).       The “relevant question is not

whether the community remembered the case,” or even formed some negative opinion of the

defendants, but rather “whether the jurors . . . had such fixed opinions that they could not judge

impartially.” Patton v. Yount, 467 U.S. 1025, 1035 (1984).

       The factors courts have considered in assessing presumptive prejudice uniformly militate

against finding presumptive prejudice in the present case.    First, “the size and characteristics of

the community in which the crime occurred” favor retaining the constitutionally prescribed venue.

Skilling, 561 U.S. at 382.   The jury pool in this case draws from diverse and populous counties

that are home to approximately 1.1 million people.           See 2020 Census Data: Tennessee,

https://www.census.gov/library/stories/state-by-state/tennessee-population-change-between-

census-decade.html.    “Given this large, diverse pool of potential jurors, the suggestion that 12

impartial individuals could not be empaneled is hard to sustain.” Skilling, 561 U.S. at 382 (citing,

inter alia, Gentile v. State Bar of Nev., 501 U.S. 1030, 1044 (1991) (plurality opinion) (finding

reduced likelihood of prejudice where venire was drawn from a pool of over 600,000 individuals));

see also, e.g., United States v. Lilley, No. 2:13-cr-20290-JTF-dkv, 2014 WL 6982456, at *2 (W.D.

Tenn. Dec. 8, 2014) (finding that the size of the City of Memphis alone—then 650,000—in the

jury pool militated against a finding of presumptive prejudice); United States v. Bennett, No. 12-

20459, 2013 WL 4521103, at *6 (E.D. Mich. Aug. 27, 2013) (finding that jury pool of

approximately 866,000 militated against a finding of presumptive prejudice).

       Second, the nature of the publicity militates strongly against finding presumptive prejudice.

The factual and opinion reporting described by the defendant does not even approach the type of

“blatantly prejudicial information of the type readers or viewers could not reasonably be expected


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to shut from sight” required to support a change of venue.                    Skilling, 561 U.S. at 382.          The

foundational Supreme Court case cited by the defendant, Rideau v. Louisiana, 373 U.S. 723

(1963), is instructive.      In that case, one of few in which the Supreme Court has found presumptive

prejudice, 3 the defendant was tried and convicted of murder, among other charges, in a Louisiana

parish comprised of only 150,000 people.             Id. at 724–25.      Days before the trial, which took place

merely two months after the defendant’s arrest, a local television station repeatedly broadcast the

defendant’s uncounseled and apparently staged confession to audiences of up to 53,000 people.

Id.   “[T]his spectacle, to the tens of thousands of people who saw and heard it, in a very real sense

was Rideau’s trial – at which he pleaded guilty to murder.” Id. at 726.

         The publicity in the present case contains no such confession, let alone an involuntary,

videotaped confession broadcast to at least a third of the jury pool, nor does it contain any other

such patently prejudicial content.          The factual (e.g., video footage of the charged conduct) and

opinion (e.g., officials’ and experts’ opining on the charged conduct) reporting cited by the

defendant amounts to no more than the type of “largely factual publicity” that the Supreme Court

has instructed trial courts to “distinguish . . . from that which is invidious or inflammatory.”

Murphy, 421 U.S. at 800 n.4; see also, e.g., United States v. Sabhnani, 599 F.3d 215, 233 (2d Cir.

2010) (“Coverage of actual developments in a criminal case generally will not rise to the level of

prejudicial publicity that will warrant a venue change.”).                  Even “extensive, negative pretrial

publicity” in the form of opinion reporting is insufficient to support a finding of presumptive

prejudice, absent “an inflammatory, circus-like atmosphere.” Campbell v. Bradshaw, 674 F.3d

578, 593–94 (6th Cir. 2012) (internal citations and quotation marks omitted). This is so because


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  The other two cases—Estes v. Texas, 381 U.S. 532 (1965), and Sheppard v. Maxwell, 384 U.S. 333 (1966)—
involved not only “months [of] virulent publicity” prior to trial but also literal “media interference with courtroom
proceedings during trial.” Skilling, 561 U.S. at 380, 382 n.14 (emphasis in original). The defendant has not
alleged, and could not allege, such interference at this stage.
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“[t]o ignore the real differences” between ordinary publicity and inflammatory publicity “would

not advance the cause of fundamental fairness, but only make impossible the timely prosecution

of persons who are well known in the community, whether they be notorious or merely prominent.”

Murphy, 421 U.S. at 800 n.4.

        The nature of the publicity in this defendant’s case is thus readily distinguishable from the

publicity at issue in Rideau and is far more akin to the publicity at issue in Skilling.   The defendant

in Skilling, a top Enron executive, was accused of enriching himself at the cost of shareholders and

underlings while perpetrating a fraudulent scheme that bankrupted one of the largest companies in

the United States. Skilling, 561 U.S. at 367–70. News stories about the defendant were “not

kind.” Id. at 382.     But the Court reasoned that whereas Rideau’s staged confession “was likely

imprinted indelibly in the mind of anyone who watched it,” the negative reporting about Skilling

lacked “blatantly prejudicial information” and thus the nature of the publicity militated against

presumptive prejudice.      Id.   The Court distinguished ordinary opinion journalism from the

confession at issue in Rideau:       “A jury may have difficulty in disbelieving or forgetting a

defendant’s opinion of his own guilt but have no difficulty in rejecting the opinions of others

because they may not be well-founded.”         Id. (quoting United States v. Chagra, 669 F.2d 241,

251–52 n.11 (5th Cir. 1982) (overruled on other grounds by Garrett v. United States, 471 U.S. 773

(1985)).   As in Skilling, the factual and opinion reporting about the defendant is that which would

be expected in a case of this profile.

        Third, and “unlike cases in which trial swiftly followed a widely reported crime” like the

two-months-later trial in Rideau, the trial in this case is scheduled for nearly a year and a half after

the charged conduct.      Skilling, 561 U.S. at 383.     As in Skilling, “the decibel level of media

attention diminished somewhat” in this case as time has passed.            Id.   The Sixth Circuit and


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courts within it have recognized that the natural dimming of media attention that occurs in a year

and even less militates against a finding of presumptive prejudice. See, e.g., DeLisle v. Rivers,

161 F.3d 370, 385 (6th Cir. 1998) (finding “more than a four-month lapse between the intense

coverage and the time of trial, at which time public attention to the case began anew” militated

against a finding of presumptive prejudice); Bennett, 2013 WL 4521103, at *9 (finding the fact

that, despite ongoing publicity, interest had “waned” over the course of 18 months between

investigation and trial militated against a finding of presumptive of prejudice).

       For these reasons, trial courts in our nation’s highest profile cases, including criminal civil

rights cases, have repeatedly rejected defendants’ attempts to change venue.        See Skilling, 561

U.S. at 378 n.11 (citing, with approval, those lower courts that have routinely exercised their

“discretion to deny venue-transfer requests in cases involving substantial pretrial publicity and

community impact” and referencing the 1993 World Trade Center bombing and the prosecution

of John Walker Lindh, termed the “American Taliban” by the press); see also, e.g., In re Tsarnaev,

780 F.3d 14, 28 (1st Cir. 2015) (rejecting, in Boston Marathon bombing case, mandamus petition

filed during voir dire that sought a change of venue due to pretrial prejudice because there was an

insufficient basis to conclude that “pervasive prejudice taints the entire jury pool”); United States

v. Bowers, No. CR 18-292, 2022 WL 825437, at *1 (W.D. Pa. Mar. 18, 2022) (denying defendant’s

motion for change of venue based on presumptive pretrial prejudice in Tree of Life Synagogue

mass shooter’s hate crimes trial); see also generally United States v. Hanes, 2017 WL 3602056, at

*3 (D.N.M. Jan. 20, 2017) (“While Defendant’s alleged crimes struck the heart of this community,

if the Boston and Charleston [Dylann Roof] cases were not exceptional enough to warrant new

venues, Defendant’s certainly is not. The Charleston church massacre and the Boston bombing

received extraordinary, relentless media coverage.     It would have been impossible to find a jury


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who had not heard of the crime.        We cannot ask for opinion free, blank slate juries, just fair

ones.”).    These cases reflect that even in cases with significant, and often significantly negative,

pretrial publicity, the constitutional requirement of venue should rarely yield.     Defendant Bean

has failed to carry his heavy burden of showing that his case is the exception.         The relevant

factors, taken alone or together, categorically militate against transfer, and the motion should be

denied.

          B. Defendant’s Alternative Request for Relief is Moot and, in Any Event, No Relief
             is Merited, Because the Court Has Ample Means to Address Potential Prejudice

          Defendant Bean asks the Court to, in the alternative, expand the jury pool beyond Shelby

County, but the jury pool already stretches across the Western District to three counties beyond

Shelby County.      See supra. His request is accordingly moot.       To the extent his motion could

be read to request an even larger expansion of the jury pool, no such remedy is merited, because,

as explained above, the defendant has failed to establish any injury that requires a remedy.

          In any event, the Court has several more effective and less onerous tools at its disposal to

ensure a fair and impartial jury.    First, the Court has already taken steps to gather and evaluate

additional information about the potential jurors by approving of the use of a supplemental juror

questionnaire.      See ECF No. 113 (granting parties’ motion for use of a supplemental

questionnaire); Skilling, 561 U.S. at 384 (noting that “[a]lthough the widespread community

impact necessitated careful identification and inspection of prospective jurors’ connections to

Enron, the extensive screening questionnaire and followup voir dire were well suited to that task”).

          Second, federal courts have repeatedly emphasized that a thorough and searching voir dire

is adequate to address the type of concerns raised by the defendant.       See id. (approving of trial

court’s voir dire, which included individual questioning of each juror and allowed for attorney-led

follow-up questioning); see also, e.g., Knapp v. Leonardo, 46 F.3d 170, 176–78 (2d Cir. 1995)
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(citing “extensive voir dire” in finding no manifest error in state court’s determination that jury

was impartial when defendant argued that 83% of the venire members were excused because they

had prejudged the case); United States v. Higgs, 353 F.3d 281, 308–09 (4th Cir. 2003) (affirming,

in light of effective voir dire, denial of motion to transfer venue in which majority of potential

jurors had heard about the case and several stated that they had formed an opinion based on

publicity).

       Third, detailed jury instructions will remind the jury of its charge and limit the jury’s

exposure to any uptick in coverage that may occur during trial.   See Skilling, 561 U.S. at 388 n.21

(“We have noted . . . the prophylactic effect of emphatic and clear instructions on the sworn duty

of each juror to decide the issues only on evidence presented in open court.”) (internal quotation

marks omitted).

       Finally, and in the event the defendant establishes actual prejudice so pervasive that it

renders the selection of an impartial jury impossible, the defendant may move again for

consideration of a motion for change of venue.       Until then, this Division and this District are

home to most of the witnesses and evidence, most of the defendants, the family of the deceased

victim, and the community most affected by this case.     The trial should occur here.

                                           Conclusion

       Defendant Bean’s motion should be denied without prejudice to file a motion based on

actual prejudice during voir dire.


                                                      Respectfully submitted,

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                                                      United States Attorney

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                                CERTIFICATE OF SERVICE

       I, Kathryn E. Gilbert, hereby certify that the on the date below, I electronically filed the

foregoing with the Clerk of Court for the Western District of Tennessee via the Electronic File

System which sent notification of said filing to defense counsel.



                                                            s/Kathryn E. Gilbert
                                                            KATHRYN E. GILBERT
                                                            January 18, 2024




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